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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                          IP Address: 108.16.114.30
Total Works Infringed: 56                                                                           ISP: Verizon Fios
 Work      Hashes                                                                 UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                             05-15-     Blacked       03-29-2021    04-14-2021   PA0002286726
           2C6E25DA6922E2C9269378498DA9F33CF6016BF1                               2021       Raw
           File Hash:                                                             20:23:57
           8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8
 2         Info Hash:                                                             10-10-     Blacked       09-19-2020    09-29-2020   PA0002258681
           E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                               2020
           File Hash:                                                             00:40:17
           DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
 3         Info Hash:                                                             08-10-     Blacked       12-21-2017    01-15-2018   PA0002070941
           B9E072232E0539EEBAFF9F6141443FE228C52360                               2020
           File Hash:                                                             06:21:08
           FE5649F2B0117B18A3184D7E3270BEC3E0F7FC2A99429C86561E918342B6DEE1
 4         Info Hash:                                                             07-30-     Blacked       07-04-2018    08-07-2018   PA0002131913
           B5E2089BD88F5B29E059EAF5C2E621B3B5008919                               2020
           File Hash:                                                             06:39:38
           BECF112263A05D3FF1CA87690A5BCDE1F3959970B8ED5F2898BEDFF01ABDFEAE
 5         Info Hash:                                                             07-30-     Blacked       06-09-2018    07-14-2018   PA0002130453
           AF96EE573EB75078F49ABE87BB1FE91A3F15C177                               2020
           File Hash:                                                             06:34:20
           68ED6A95AB2DCBC2551585DA2E428A2B9A052774D64B8426A22A6FFA825629F1
 6         Info Hash:                                                             07-27-     Blacked       07-25-2020    08-11-2020   PA0002252256
           6A0E4F47E6B770D53A96234596721B9EB309ABC5                               2020
           File Hash:                                                             09:47:46
           7C515B5F023A5BB71D35A3A323BAC5736B51C521139A3189D8D070EAF8E0997A
 7         Info Hash:                                                             07-16-     Blacked       12-16-2019    01-22-2020   PA0002234860
           8A648DB9622035F8BA2FEDE5F9EDE4894208D3E3                               2020
           File Hash:                                                             00:22:10
           C12B33C60AD51B9712D51F693F99BB4758C1C2683D6A6D836CBB74868CFC98A8
 8         Info Hash:                                                             07-15-     Blacked       01-12-2020    02-04-2020   PA0002225587
           966AF5D11568D7D5896168F66E882245BA8A5F07                               2020       Raw
           File Hash:                                                             18:15:12
           13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2
                               Case 2:21-cv-03028-GAM Document 1-1 Filed 07/07/21 Page 2 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         07-05-     Tushy     07-05-2020   07-20-2020   PA0002248967
       829EB85C3BB6F11D9B51EC365B40F9D6F12530A5                           2020
       File Hash:                                                         22:43:02
       5813DE9CDFDD4AE0B45CAD7706F40394759E40F3F86F826D3A2F694B37AC368E
10     Info Hash:                                                         05-23-     Blacked   06-21-2018   07-26-2018   PA0002112156
       48FC851FEDE158FA68466F2C2EC15D57A24CE18A                           2020       Raw
       File Hash:                                                         03:59:05
       12B63C03986585E66F366B94BF78B3EFB37104EF78E6543F97EC1F35C586A1AD
11     Info Hash:                                                         05-22-     Blacked   04-10-2018   05-23-2018   PA0002101304
       A7B77E1226DA839D3A8F4DF03F9EF353E9E11502                           2020
       File Hash:                                                         16:43:42
       A9108D6691B6184CDFCF5E85D11B01704E33A40930AA9C3FCFC3DE75190EA3AF
12     Info Hash:                                                         05-09-     Blacked   09-02-2018   11-01-2018   PA0002143413
       025477E817FDAD26E20E85603DCEC00D1BD5DA68                           2020
       File Hash:                                                         03:17:17
       211F5C323C06C8C41A64998676FDCC2C3172142328F132032DFA9CC295E47786
13     Info Hash:                                                         05-09-     Blacked   05-12-2018   05-24-2018   PA0002101380
       1ED7894C730F91D284F9451A87ECDC8F5187BF50                           2020       Raw
       File Hash:                                                         03:15:42
       38583D10BC13553F985C29BAE89EF5FBF0C3DE0603CF9C41C598EDB9A7D3426E
14     Info Hash:                                                         05-09-     Blacked   07-19-2018   09-05-2018   PA0002135006
       07EC80C56B473DD0771AB7D4A3E905994A87A408                           2020
       File Hash:                                                         03:14:35
       E81BFDFF307EBBEFA816D0064F468B2CDB648B0BC1521785B70B40C95251850C
15     Info Hash:                                                         05-03-     Blacked   11-13-2017   11-30-2017   PA0002098039
       963232B05435B68AAF26F8CA9D942BB02B953191                           2020       Raw
       File Hash:                                                         18:40:22
       877D0C18891243E33B66AA18ED479D27D8386F83F38C8FE709A1EF43D9C06E7F
16     Info Hash:                                                         04-21-     Blacked   02-14-2020   03-18-2020   PA0002241448
       45BD7EB6EC3A335403A10A66A52919DBE8FD0208                           2020
       File Hash:                                                         12:32:20
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B
17     Info Hash:                                                         04-21-     Blacked   03-28-2019   05-28-2019   PA0002200777
       C20D8CE638A46CD39FA65004C565F7F85846691D                           2020       Raw
       File Hash:                                                         12:31:26
       EA5B48145CBAF733479368D9256BC9D6AA8EC5702C56014718B4A1CBA7E39563
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         04-21-     Blacked   05-27-2019   06-13-2019   PA0002180951
       D93E7A2150B84861096407A9CABB85144D6DA4EC                           2020       Raw
       File Hash:                                                         12:29:46
       7181F8C850321C93A227560AC549BC5E49DAB521BB9974A950DF7FA6EE4E28C1
19     Info Hash:                                                         04-19-     Vixen     07-28-2018   09-01-2018   PA0002119572
       F6CE08796E7200EA0845FF9313369CF337C207BF                           2020
       File Hash:                                                         14:55:14
       80D1AB32037DC972993DC1D67A3951382310EECA7BBD9430350DB3E17A8B8DC3
20     Info Hash:                                                         04-13-     Blacked   02-19-2020   03-18-2020   PA0002241617
       549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                           2020
       File Hash:                                                         04:29:15
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
21     Info Hash:                                                         04-13-     Blacked   02-01-2020   03-15-2020   PA0002240553
       8E6EED497401E5632882329A13CCE181E0D45A1E                           2020       Raw
       File Hash:                                                         04:28:55
       7EF068634F9DBFFFF69D13096D059481F3BD7CB4C08FB71B20294D69CF19CB36
22     Info Hash:                                                         03-28-     Blacked   03-21-2020   04-15-2020   PA0002246170
       F1A7DC0EAC887D2D778C16ECD1712626FA9234DE                           2020
       File Hash:                                                         23:49:00
       17136CE35D223AFE891CC9412872B5DFB5E9E534EC060A787E6DCDB7A7032534
23     Info Hash:                                                         03-20-     Blacked   05-10-2019   07-05-2019   PA0002206368
       6B8E400282C3C9C50A8C00AEB5CD52F0B967DA0A                           2020
       File Hash:                                                         07:02:45
       8B1D77EE7A014B7106E69A34DB5318ADFB95AB580E12B4E69E44CE4A4D0FC85D
24     Info Hash:                                                         03-20-     Blacked   03-11-2019   03-31-2019   PA0002163979
       72555676245CA53C457541455A41821330714A7A                           2020
       File Hash:                                                         07:02:06
       4FF404477E05C99BDAB75A2082DAD57AF4A52BF2271449F1448891B4CD1A1BC9
25     Info Hash:                                                         03-20-     Blacked   09-17-2018   10-16-2018   PA0002127778
       9A00DC56773A2DAF8A9BFE17C2984A51122FB78E                           2020
       File Hash:                                                         07:01:56
       FBC4A307DFC7F19702E7F160ED53E04D9C37036D235F55A57AD3E47384A11A2A
26     Info Hash:                                                         03-20-     Blacked   07-09-2018   08-07-2018   PA0002131818
       67D95FCED9B00C108A63588568A4B4CC34737EE5                           2020
       File Hash:                                                         07:01:04
       2F08A480A39A433B92CB7BE753ED72122DDC6A8669D61337B266203F90B0E8D4
                               Case 2:21-cv-03028-GAM Document 1-1 Filed 07/07/21 Page 4 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         03-20-     Blacked   04-25-2018   06-19-2018   PA0002126642
       96AEF5CCCC986CCBC629B6F97649BCEBBC0586B2                           2020
       File Hash:                                                         06:59:44
       91586FC60AEA8195E518F7211642E75475C9BFD182FEA0517D1CBA403D777473
28     Info Hash:                                                         02-02-     Tushy     07-25-2018   09-05-2018   PA0002134601
       8AEA27202C47B378BF48659CC2938DB8691054EF                           2020
       File Hash:                                                         19:10:58
       0D3B456AA0D88C15AF796288F66A6A6E23996BA5771C0CD7F6A9A0F347D69959
29     Info Hash:                                                         02-02-     Blacked   01-17-2019   02-22-2019   PA0002155141
       498C38E65A191A26E153A7D80BCFBCA20069BDFD                           2020       Raw
       File Hash:                                                         19:08:39
       7D77CD89BDDD5175B6C5775155ABE6765DBCC8D9D3D09DB4A285FF43F55D7EB8
30     Info Hash:                                                         02-02-     Vixen     06-28-2019   08-27-2019   PA0002213233
       425B69EBF37AF69ECEF370C54A0B8F23AB28C401                           2020
       File Hash:                                                         17:00:25
       7C0FB3C1BB3F1DF8CAAC603A4D2F6E76DC9BDB04138DC2CBABB665BADAE3B47B
31     Info Hash:                                                         12-10-     Tushy     04-11-2019   05-11-2019   PA0002173890
       A66C9C655E360338BD35653F211606B8DDC42727                           2019
       File Hash:                                                         23:45:58
       FD1AF2E638532BF05E7C3294DCE59C3CB84A554F0BC6154C167F7B215833937A
32     Info Hash:                                                         10-13-     Tushy     08-04-2019   08-22-2019   PA0002195508
       5DF8FA648DEEAE1D73E962DB195061E646F82B4E                           2019
       File Hash:                                                         22:08:50
       BA5A079E645206AA74CFD54D5EA02C345EB7CA9D87D07AE53C3DB2E8CC913CEE
33     Info Hash:                                                         10-11-     Blacked   06-29-2018   07-26-2018   PA0002112160
       5D16EC2FE6C9F9FA9F5476C90525208D413532F1                           2019
       File Hash:                                                         11:45:14
       247DCE33E47A1EC566200C820669478595511EF53F3A644E15EBEE009FBBD0A0
34     Info Hash:                                                         10-11-     Blacked   06-24-2018   07-26-2018   PA0002112154
       8031B4A7A5CFCECBC796D4772440BFC5016C11AA                           2019
       File Hash:                                                         11:43:31
       6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187
35     Info Hash:                                                         10-11-     Blacked   09-12-2018   11-01-2018   PA0002143426
       B038E50CE96EA99AC02E1BCF051643E7314A3667                           2019
       File Hash:                                                         11:43:25
       72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37
                              Case 2:21-cv-03028-GAM Document 1-1 Filed 07/07/21 Page 5 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         10-02-     Blacked   08-08-2019   09-17-2019   PA0002216217
       C6AACF8B5EBC7F41C26EBB07A4DABE1287B3C675                           2019
       File Hash:                                                         11:11:37
       2D4D64E994B54F6310EAF6658524F2A7B0F98B62A56F4F9B5A2EE8CC25656EB5
37     Info Hash:                                                         09-29-     Blacked   05-15-2019   07-05-2019   PA0002206387
       8353F4631A78E6DC2342C97336E4C914EF5A5F4C                           2019
       File Hash:                                                         08:00:01
       E27F294BF15EE2AAA116EB4AD31699884120D036323B9960A2D3909627A48462
38     Info Hash:                                                         09-29-     Blacked   07-11-2019   09-17-2019   PA0002216212
       6478D6818B6843DC1DEE5BD5A6C05F7B6D37EC2E                           2019       Raw
       File Hash:                                                         07:59:54
       B98513AE2490FF3F323AE1CC7F75EC58C20154B89A409B54083E456853E5E623
39     Info Hash:                                                         09-11-     Blacked   03-13-2019   04-17-2019   PA0002186977
       16532C1256F1D8936C056A44AAECF4E274B576EB                           2019       Raw
       File Hash:                                                         11:59:00
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D
40     Info Hash:                                                         09-11-     Blacked   11-18-2018   12-10-2018   PA0002146476
       D9261D3722C161272619A45A80E6F849B0BC63B5                           2019       Raw
       File Hash:                                                         11:47:58
       9272236D752743F64E074A94ECCD8E592FB3F4520DD24DD9BEFF5878C22DC176
41     Info Hash:                                                         09-11-     Blacked   02-13-2019   03-24-2019   PA0002183197
       DAAB1603971461BD3D663620ED1313A2096BA184                           2019       Raw
       File Hash:                                                         11:40:04
       208C2094E936E0C81D7BE784548F4DEEC34975FA611D8D2CD633CCB4F288C2C3
42     Info Hash:                                                         09-01-     Blacked   07-21-2019   08-27-2019   PA0002213243
       0BB45C1043F264656FD238E2E8E117B9E06AD6A0                           2019       Raw
       File Hash:                                                         06:34:25
       E4B2D26741E5832FCD58CC296E6598F185F73B2F0A5C24B92197FA20F4456F89
43     Info Hash:                                                         08-29-     Blacked   12-26-2017   01-24-2018   PA0002101758
       31148997CD9F0DD687B5322CE359E163DE2BFAA7                           2019
       File Hash:                                                         02:40:43
       89E84A2A02D4D4B0C7641125DB9A2D8F3DDDEA629BE3D91B9DE6C7EDD485D9D4
44     Info Hash:                                                         08-29-     Blacked   07-24-2019   09-10-2019   PA0002199414
       B426DA516B5F87C97B1C1D5732F040BC16B1F5A4                           2019
       File Hash:                                                         02:35:25
       8D6DDB62698A011D6F8AEDECA858410D559FE50CDD8DF33B7527D8CBC1F54D77
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         08-22-     Blacked   07-26-2019   09-10-2019   PA0002199417
       DE77246EE34EE1CDD79ED93E2A72D390952AEDBA                           2019       Raw
       File Hash:                                                         07:33:02
       7A9703274C30670E88D5C893C87B8F218D90C72E0AE6635F0BFB38807695E4B7
46     Info Hash:                                                         08-17-     Blacked   12-13-2018   02-02-2019   PA0002154971
       ECFEC3C1CEA5BACDED5052AB2E57DEAAD83FFF39                           2019       Raw
       File Hash:                                                         04:56:43
       BF2324E563299B843D750C225AA4713748F774270CACA8F99C61C55B55BEC599
47     Info Hash:                                                         08-09-     Vixen     11-20-2017   01-04-2018   PA0002069354
       3C13DFBCED77087173F8CE7A0B2F077D12A321BD                           2019
       File Hash:                                                         02:04:57
       FC40DC75BA06C6F50BEB2F5BBB1187D357002ED047C2F2FB1440477307223607
48     Info Hash:                                                         03-20-     Blacked   03-18-2019   04-08-2019   PA0002164883
       CE74EDC69A9EE02D7EAEF30B9F3DC7A0FA93CA19                           2019       Raw
       File Hash:                                                         01:53:55
       AD6B67077E3A7384F427669028069434AC296F9CD332D65D172D09396AC3005B
49     Info Hash:                                                         03-19-     Blacked   12-18-2018   02-02-2019   PA0002155391
       F7584EAD8BB810CD75BB8B1AC568E48EE5CC21A0                           2019       Raw
       File Hash:                                                         04:13:42
       B520ACEA749A3A476BF843A6477E83EEEF03C2FB032653664139EBF800AD87A1
50     Info Hash:                                                         02-11-     Blacked   01-22-2019   03-24-2019   PA0002183202
       F3EC5C49A82A82556603153EF10C4FDEB42356C2                           2019       Raw
       File Hash:                                                         02:52:01
       8DB567512505266F30DBA8F4B04557C917B8116EAC2FCB2C19ABC6570946CFE9
51     Info Hash:                                                         01-18-     Blacked   10-27-2018   12-10-2018   PA0002145828
       4A3136B25E195764C6A5BFB40F2A05BF4D67FC78                           2019
       File Hash:                                                         01:05:41
       6795789E04678B20D40454D7E8A982DB17E652E8CAF50F29E036AA400E5CC327
52     Info Hash:                                                         01-18-     Blacked   06-16-2018   07-14-2018   PA0002128317
       30DA489597F6D7CBEA57C6287564FA8325DBC4F8                           2019       Raw
       File Hash:                                                         01:05:10
       1FC7F6CAF9BCD0764A89E8ABD1F6E4A77DC4710FA7FAE67E76670DF36E184092
53     Info Hash:                                                         01-12-     Blacked   04-30-2017   06-15-2017   PA0002037580
       EE39528C7065FF52B465D599BA395BF972CD06E6                           2019
       File Hash:                                                         03:27:25
       56338A7A617E7F2E165DDC72067C31FCD89CCDED6D22F6EE987E68BF88444128
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         12-19-     Vixen     12-15-2018   01-22-2019   PA0002147905
       A13372D383B6487823771167C3024FF64D0BAF6F                           2018
       File Hash:                                                         12:41:21
       966A72033B80F407CEC791BCFC86062A5AE505676C5DD0017BDB610154691AE2
55     Info Hash:                                                         11-28-     Blacked   09-27-2017   10-10-2017   PA0002057451
       23C75D98A22B6821F255E85F2ED58CC5CEC8E2DD                           2018
       File Hash:                                                         05:22:59
       801BC053AC78CEDC56C3027F83372479B9509FACAF125689D73D42AA9B3E67EA
56     Info Hash:                                                         11-28-     Blacked   11-26-2018   12-18-2018   PA0002141922
       CDB428717D9C325AE13709F5E8B856BAA09B84D4                           2018
       File Hash:                                                         01:40:31
       35EB19C9FE15018078773BC8FA36B11A5233B3C63101DF10EF37E675B48DA324
